        Case 3:17-cv-01734-JPW Document 40-15 Green
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·1· · · · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · ·FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
·2

·3

·4·   ·B.L., A MINOR, BY AND THROUGH :
· ·   ·HER FATHER, LAWRENCE LEVY,· · ·: CIVIL NO. 3:17-CV-1734-ARC
·5·   ·AND HER MOTHER, BETTY LOU· · · :
· ·   ·LEVY,· · · · · · · · · · · · · :
·6·   · · · · · · · ·PLAINTIFFS· · · ·:
· ·   · · · · · · · · · · · · · · · · :
·7·   · · · · · · · · · · · · · · · · :
· ·   · · · · ·V· · · · · · · · · · · :
·8·   · · · · · · · · · · · · · · · · :
· ·   ·MAHANOY AREA SCHOOL DISTRICT, :
·9·   · · · · · · · · · · · · · · · · :
· ·   · · · · · · · · DEFENDANT· · · ·:
10

11

12

13

14
· · · · · · · · · · DEPOSITION OF:· DR. JOIE GREEN
15

16· · · · · · · · · TAKEN BY:· · · ·PLAINTIFFS

17

18· · · · · · · · · BEFORE:· · · · ·MARIA N. O'DONNELL, RPR

19· · · · · · · · · · · · · · · · · NOTARY PUBLIC

20

21· · · · · · · · · DATE:· · · · · ·OCTOBER 10, 2018, 11:12 A.M.

22

23· · · · · · · · · PLACE:· · · · · MAHANOY AREA SCHOOL DISTRICT

24· · · · · · · · · · ·EXHIBIT
                         · · · · · · ONE GOLDEN BEAR DRIVE
                                      exhibitsticker.com




25· · · · · · · · · · · D
                        · - ·22 · · · · MAHANOY CITY, PENNSYLVANIA


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·1·   ·students, staff and tax payer -- well, tax payers of the         ·1·   ·you have to, you know, remove B., none of that.· So it's
·2·   ·community.· So just probably the main person that is             ·2·   ·basically up to the coaches themselves to determine what the
·3·   ·responsible for everything.                                      ·3·   ·appropriate punishments agree with what.· That word punishment
·4·   · · ·Q· · ·Okay.· How many years have you been superintendent     ·4·   ·is for the child that doesn't follow their rules.
·5·   ·of the district?                                                 ·5·   · · ·Q· · ·So you were here for Miss Luchetta-Rump's testimony
·6·   · · ·A· · ·Superintendent here since 2010.· So eight years.       ·6·   ·earlier today, right?
·7·   · · ·Q· · ·And what position did you hold previous to that?       ·7·   · · ·A· · ·Yes.
·8·   · · ·A· · ·I was a middle school principal here from 2004 to      ·8·   · · ·Q· · ·We talked about several parts of the handbook that
·9·   ·2010.· And then before that, I was a teacher for about fifteen   ·9·   ·refer to coaches adopting their own rules for their teams.
10·   ·years.                                                           10·   ·Correct?
11·   · · ·Q· · ·Okay.· Could you please look at Exhibit P-3, the       11·   · · ·A· · ·Yes.
12·   ·district's interrogatory responses.· They should be somewhere    12·   · · ·Q· · ·Okay.· So coaches are allowed to make their own
13·   ·in the stack.                                                    13·   ·rules for their teams?
14·   · · ·A· · ·I put them in order for myself.                        14·   · · ·A· · ·Correct.
15·   · · ·Q· · ·Okay.                                                  15·   · · ·Q· · ·Are there any limits on what kind of rules coaches
16·   · · ·A· · ·Okay.                                                  16·   ·can make for their teams?
17·   · · · · · ·MR. BROWN: I think it is P-5.                          17·   · · ·A· · ·Well, they have to follow the PIAA rules, obviously
18·   ·BY MS. TACK-HOOPER:                                              18·   ·that is required.· They have to follow the ineligibility list
19·   · · ·Q· · ·I am sorry, it is P-5.· My mistake.                    19·   ·rules as far as grading.· But other than that, they can -- you
20·   · · ·A· · ·Okay.                                                  20·   ·know, they have guidelines.· The guideline would be the
21·   · · ·Q· · ·You signed a verification at the back of this          21·   ·student handbook, the PIAA.· Then they go from there to make
22·   ·document, is that correct?                                       22·   ·their rules.
23·   · · ·A· · ·Yes.                                                   23·   · · ·Q· · ·Have you reviewed the cheerleading rules for the
24·   · · ·Q· · ·Did you review those responses before they were        24·   ·district?
25·   ·submitted?                                                       25·   · · ·A· · ·Not before this incident.· I have never reviewed any

                                                             Page 7                                                                  Page 9
·1·   · · ·A· · ·Yes.                                                   ·1·   ·rules for any sports before this incident.
·2·   · · ·Q· · ·And they're accurate?                                  ·2·   · · ·Q· · ·Okay.· What is your understanding of who reviewed
·3·   · · ·A· · ·Yes.                                                   ·3·   ·rule -- who reviewed the cheerleading rules?
·4·   · · · · · ·MS. TACK-HOOPER:· Okay.· Let's mark this P-10.         ·4·   · · ·A· · ·When?
·5·   · · · · · ·(Defendant's responses to plaintiffs' request for      ·5·   · · ·Q· · ·Before they were put into effect.
·6·   ·admission produced and marked Deposition Exhibit No. P10.)       ·6·   · · ·A· · ·It's my understanding that the cheerleading coaches
·7·   ·BY MS. TACK-HOOPER:                                              ·7·   ·put their own rules into effect themselves.
·8·   · · ·Q· · ·You have in front of you Exhibit P10, the district's   ·8·   · · ·Q· · ·Okay.
·9·   ·responses to plaintiffs' first request for admissions.           ·9·   · · ·A· · ·It's not reviewed by the principal unless they have
10·   · · · · · ·At the back of this document, you have signed a        10·   ·a question about something or something has changed from year
11·   ·verification.· Did you review this document before it was        11·   ·to year and they have a question they want to run by the
12·   ·submitted?                                                       12·   ·principal, but it is never reviewed with me.
13·   · · ·A· · ·Yes.                                                   13·   · · ·Q· · ·Okay.· Let's look at the cheerleading rules.· They
14·   · · ·Q· · ·And are the responses in here accurate?                14·   ·are Exhibit D3.
15·   · · ·A· · ·Yes.                                                   15·   · · · · · ·Have you had an opportunity to read these rules at
16·   · · ·Q· · ·Okay.· Were Ms. Luchetta-Rump and Ms. Gnall            16·   ·some point?
17·   ·authorized by the school to remove B. from the cheerleading      17·   · · ·A· · ·Yes.
18·   ·team as punishment for her Snap?                                 18·   · · ·Q· · ·Is there anything in these rules that goes beyond
19·   · · ·A· · ·I wouldn't say authorized by the school district.      19·   ·what coaches are allowed to do?
20·   ·Normally what happens is the coaches of various co-curricular    20·   · · ·A· · ·No.
21·   ·activities have their own rules that they follow, and it's up    21·   · · ·Q· · ·You heard the coaches testify about what various
22·   ·to them to determine what is appropriate for their team and      22·   ·provisions of these rules mean.· Did their explanation of how
23·   ·what isn't appropriate for their team.· So I wouldn't say that   23·   ·they apply these rules exceed what they're allowed to do in
24·   ·the district authorized them to do that.· There was no board     24·   ·your opinion?
25·   ·approval saying that -- a board ratification saying, you know,   25·   · · ·A· · ·No.


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·1·   · · ·Q· · ·Would you say that the coaches had the power to        ·1·   · · ·Q· · ·Okay.
·2·   ·remove B. from the cheerleading team without approval from       ·2·   · · ·A· · ·I don't know if it was messaged through Facebook.
·3·   ·anyone else?                                                     ·3·   ·It might have been a text message.· I am not sure.
·4·   · · ·A· · ·Yes.                                                   ·4·   · · ·Q· · ·Okay.· It was some communication with Mr. Levy?
·5·   · · ·Q· · ·After B. was punished, her parents had several         ·5·   · · ·A· · ·Correct.
·6·   ·conversations with district officials asking for                 ·6·   · · ·Q· · ·On August 11, correct?
·7·   ·reconsideration.· Are you aware of this?                         ·7·   · · ·A· · ·Yes.
·8·   · · ·A· · ·Yes.                                                   ·8·   · · ·Q· · ·And you state in there that the school board decided
·9·   · · ·Q· · ·The high school principal at the time, Mr. Smith,      ·9·   ·to stand by the coaches.· Correct?
10·   ·stood by their decision.· Correct?                               10·   · · ·A· · ·Yes.
11·   · · ·A· · ·Yes.                                                   11·   · · ·Q· · ·Was there -- did the board consider the issue of B's
12·   · · ·Q· · ·You stood by their decision, correct?                  12·   ·punishment a second time after the June 29th meeting?
13·   · · ·A· · ·Yes.                                                   13·   · · ·A· · ·I don't know -- I was trying to remember what
14·   · · ·Q· · ·Athletic Director Cray stood their by their            14·   ·happened.· I don't know if they had discussed supporting the
15·   ·decision?                                                        15·   ·coaches that meeting, or if it was the meeting after that, the
16·   · · ·A· · ·Yes.                                                   16·   ·July meeting, because I don't understand why it took until
17·   · · ·Q· · ·On June 29th, 2017, Mr. Levy went to the board         17·   ·August llth to message Larry to tell him that.
18·   ·meeting to discuss this incident.· Were you aware of that?       18·   · · ·Q· · ·Okay.
19·   · · ·A· · ·Yes.                                                   19·   · · ·A· · ·I am not sure what happened there.· I don't know if
20·   · · ·Q· · ·Did the board discuss Brandi's punishment at that      20·   ·there was a discussion about it.· I am not sure.· But they had
21·   ·meeting?                                                         21·   ·told me to notify him and let him know that they were going to
22·   · · ·A· · ·With Mr. Levy, yes.· Her punishment, did you ask?      22·   ·support the coaches.
23·   · · ·Q· · ·Yes.                                                   23·   · · ·Q· · ·Okay.
24·   · · ·A· · ·No.· After the meeting was over, he -- they had        24·   · · ·A· · ·So that's what I did.
25·   ·stated that they were going to take it into consideration.       25·   · · ·Q· · ·Okay.· Was there any kind of formal vote?

                                                           Page 11                                                                 Page 13
·1·   · · ·Q· · ·Okay.· If you look at the interrogatory responses,     ·1·   · · ·A· · ·No.
·2·   ·which are P-5, response No. 3 says that the board took no        ·2·   · · ·Q· · ·Okay.· Is there any reason in your view why the
·3·   ·action on the matter?                                            ·3·   ·coaches decision to remove B. from the cheerleading squad as
·4·   · · ·A· · ·Right.· The board did not take any action.· They did   ·4·   ·punishment for her Snap should not be attributed to the
·5·   ·not.                                                             ·5·   ·district?
·6·   · · · · · ·MR. BROWN: Did you say that was No. 3?                 ·6·   · · ·A· · ·What?· I --
·7·   · · · · · ·THE WITNESS:· She said No. 3.                          ·7·   · · · · · ·MR. BROWN: Object to the form.
·8·   ·BY MS. TACK-HOOPER:                                              ·8·   · · · · · ·THE WITNESS:· I don't understand what you mean.
·9·   · · ·Q· · ·Did I get the number wrong?· I will find it.· Yes,     ·9·   ·BY MS. TACK-HOOPER:
10·   ·it's at the end of the second paragraph in response to No. 3.    10·   · · ·Q· · ·Sure.· When the coaches decided to punish B., that
11·   ·The school board took no action on the matter?                   11·   ·is something that coaches are allowed to do, correct?
12·   · · ·A· · ·Right.                                                 12·   · · ·A· · ·Yes.
13·   · · ·Q· · ·What does that mean?                                   13·   · · ·Q· · ·They were acting as coaches in the way that all of
14·   · · ·A· · ·They did not have a public meeting about it, a         14·   ·your coaches act, correct?
15·   ·public vote about it.· They didn't ratify anything.· They        15·   · · ·A· · ·Yes.
16·   ·didn't -- they just didn't have any -- normally like at a        16·   · · ·Q· · ·Okay.· The rules in the handbook say that they get
17·   ·school board meeting, we do motions and approvals, they didn't   17·   ·to set rules regarding students' out of school conduct and can
18·   ·do that for this situation.                                      18·   ·punish students for violating those rules, correct?
19·   · · · · · ·MS. TACK-HOOPER:· Okay.· P-11.                         19·   · · ·A· · ·Yes.
20·   · · · · · ·(Document, Facebook messages, produced and marked      20·   · · ·Q· · ·The coaches did everything the way that you would
21·   ·Deposition Exhibit Number P11.)                                  21·   ·expect them to handle the situation?
22·   ·BY MS. TACK-HOOPER:                                              22·   · · ·A· · ·Yes.
23·   · · ·Q· · ·You have what's been marked as P11.· Is this a         23·   · · ·Q· · ·Okay.· They weren't going rogue in this situation?
24·   ·Facebook message between you and Mr. Levy?                       24·   · · ·A· · ·No.
25·   · · ·A· · ·Yes.· Messenger message, yes.                          25·   · · ·Q· · ·Okay.· All right.· And the district ultimately


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·1·   ·decided that the punishment was appropriate, correct?            ·1·   ·that the PIAA part of the handbook has to go across the board
·2·   · · · · · ·MR. BROWN: Objection to the form as far as what you    ·2·   ·for everybody.· You know, it's the rule for PIAA.· They can't
·3·   ·mean by district.                                                ·3·   ·play in a football game if they're averages aren't at a
·4·   ·BY MS. TACK-HOOPER:                                              ·4·   ·certain point, if they're failing a subject like Nicole had
·5·   · · ·Q· · ·Okay.· The school board ultimately decided that the    ·5·   ·said.
·6·   ·punishment was appropriate, correct?                             ·6·   · · ·Q· · ·Right.
·7·   · · ·A· · ·The school board decided that they were going to       ·7·   · · ·A· · ·So it goes hand in hand.· So they have that as a
·8·   ·support the coaches' decisions.                                  ·8·   ·guide to determine what their rules would be.
·9·   · · ·Q· · ·Okay.                                                  ·9·   · · ·Q· · ·Okay.· Were there any parts of the handbook that we
10·   · · ·A· · ·They said that they can't -- that they shouldn't get   10·   ·did not discuss this morning that you think someone should
11·   ·involved in extracurricular activities.· That they need -- the   11·   ·read in order to understand coaches power to punish their
12·   ·coaches need to be able to hold their people accountable for     12·   ·players?
13·   ·what they do and don't do.                                       13·   · · · · · ·Feel free to go through the exhibits.
14·   · · ·Q· · ·Sure.                                                  14·   · · ·A· · ·Just that the important part is the -- is page 78
15·   · · ·A· · ·So it shouldn't be a board -- it shouldn't -- it       15·   ·through 80, 81 is all of the PIAA information.· That's taken
16·   ·shouldn't be at the board level.                                 16·   ·right from there.· So where it says interscholastic athletic
17·   · · ·Q· · ·Right.· So coaches should be allowed to make these     17·   ·procedures on the bottom of page 78 all of the way through
18·   ·decisions without having to go through the school board or       18·   ·page 81 before the words student counsel, that's everything
19·   ·other administrators, correct?                                   19·   ·that explains the suspension from a team, their attendance,
20·   · · ·A· · ·Coaches should be able to monitor their, I shouldn't   20·   ·their personal conduct, so on.· But other than that, no.
21·   ·say student, but that's what they are, monitor them the way      21·   · · ·Q· · ·Okay.· Just for the record, that was Exhibit P6?
22·   ·they see fit for their activity.                                 22·   · · ·A· · ·P6, yes.
23·   · · ·Q· · ·Okay.· Are there any -- is there any training that     23·   · · ·Q· · ·Okay.· We also looked at another policy, policy 218,
24·   ·coaches receive about the limits of their authority to punish    24·   ·which was marked as P-7.· Do you -- can you find that one?
25·   ·students?                                                        25·   · · ·A· · ·Yes.

                                                           Page 15                                                                 Page 17
·1·   · · ·A· · ·The training that are required for all coaches are     ·1·   · · ·Q· · ·What is this policy?
·2·   ·through PIAA.· And our -- all of our coaches are required to     ·2·   · · ·A· · ·This is a policy for student discipline.
·3·   ·do those trainings.· As far as if there is one for discipline,   ·3·   · · ·Q· · ·What is the policy?· It says at the top book policy
·4·   ·I am not sure.                                                   ·4·   ·manual.· What is the policy manual?
·5·   · · ·Q· · ·Okay.· Did -- do school coaches have to notify         ·5·   · · ·A· · ·There is a policy manual that is required for all
·6·   ·anyone else at the school or the district either before or       ·6·   ·school districts.· And each of them -- we do ours through the
·7·   ·after they punish students?                                      ·7·   ·Pennsylvania School Boards Association.· And this is the
·8·   · · ·A· · ·They don't have to put -- we're such a small school,   ·8·   ·section 200 of the policy.· It is policy 218, which is called
·9·   ·that the majority of them do.                                    ·9·   ·student discipline.
10·   · · ·Q· · ·Okay.                                                  10·   · · ·Q· · ·This is the PSEA's standard policy on student
11·   · · ·A· · ·They'll notify the principal or the athletic           11·   ·discipline?
12·   ·director.                                                        12·   · · ·A· · ·No.· PSBA, Pennsylvania School Board Association.
13·   · · ·Q· · ·Okay.· Are you aware of any coaches ever having been   13·   · · ·Q· · ·I am sorry, PSBA.· Sorry.
14·   ·reprimanded or disciplined for disciplining students             14·   · · ·A· · ·They recommend a policy to the districts.· And then
15·   ·improperly?                                                      15·   ·we I guess you could say tweak it to how our district is.· And
16·   · · ·A· · ·Not that I am aware of, no.                            16·   ·then our board votes on the policies two times in one month,
17·   · · ·Q· · ·Okay.· I'd like to -- we talked this morning about     17·   ·two consecutive months, then it becomes a policy.
18·   ·the cheerleading rules that the coaches made and also the        18·   · · · · · ·We send it back to PSBA, then they approve it.· And
19·   ·student handbook.· How do the cheerleading rules relate to the   19·   ·we post it on our web site.
20·   ·rules in the handbook?                                           20·   · · ·Q· · ·Okay.· And is this a policy that you train
21·   · · ·A· · ·So the handbook has part of the -- all of the PIAA     21·   ·cheerleading coaches on?
22·   ·requirements in it.· And so they have to kind of -- one is the   22·   · · ·A· · ·I don't train.· No, I don't train cheerleading
23·   ·back hand of the other one.· Do you understand what I am         23·   ·coaches on policy, no.
24·   ·saying?· So they use both of those to determine what would be    24·   · · ·Q· · ·Do you expect your coaches to be familiar with all
25·   ·the best appropriate rules for their teams.· So I know like --   25·   ·of the districts's policies?


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·1·   · · ·A· · ·That's a tough question because it's two fold. I       ·1·   ·consistent with all of these policies in your view?
·2·   ·expect the coaches to follow what is in the handbook as far as   ·2·   · · ·A· · ·I don't know.· I didn't really sit down and go
·3·   ·what they need to do and what they shouldn't be doing.           ·3·   ·through to make sure that they are.
·4·   · · · · · ·The policy itself, there is procedures that are made   ·4·   · · ·Q· · ·Okay.· Do you want to take a moment and look at
·5·   ·for each policy.· So the policy is the big thing, the big        ·5·   ·these -- these are four policies that your lawyer has produced
·6·   ·picture.· Then there is procedures that we can create based on   ·6·   ·in this litigation.· Are they policies that you're familiar
·7·   ·the policy.· And those procedures would be the coaches' rules,   ·7·   ·with?
·8·   ·PIAA procedures, all of those things.· So do they follow the     ·8·   · · ·A· · ·Yes.
·9·   ·policy, they have to realistically -- I shouldn't say they       ·9·   · · ·Q· · ·Okay.· Do you want to take a few minutes and just
10·   ·have to, they need to look at the policy and determine what      10·   ·look at them again?
11·   ·their rules are and procedures are from that point.              11·   · · ·A· · ·Yes, if you don't mind.
12·   · · · · · ·So once the procedures are established, I would        12·   · · ·Q· · ·Please take your time.
13·   ·expect them to follow the procedures based on the policy. I      13·   · · ·A· · ·Could you read me your question again?
14·   ·hope that makes sense.                                           14·   · · ·Q· · ·Sure.· In your view, are the cheerleading rules
15·   · · ·Q· · ·I think so.· But I am going to show you some more      15·   ·consistent with these district policies?
16·   ·policies.                                                        16·   · · ·A· · ·I would say yes.
17·   · · ·A· · ·Okay.                                                  17·   · · ·Q· · ·Okay.· So you agree that coaches have the power to
18·   · · · · · ·MS. TACK-HOOPER:· Twelve, thirteen and fourteen.       18·   ·remove students from sports or extra-curriculars because of
19·   · · · · · ·(Policy manual documents produced and marked           19·   ·their out-of-school speech?
20·   ·Deposition Exhibit Numbers 12, 13, and 14.)                      20·   · · ·A· · ·Depending on the situation.
21·   ·BY MS. TACK-HOOPER:                                              21·   · · ·Q· · ·What does that mean?
22·   · · ·Q· · ·I have just handed you three more policies, Exhibits   22·   · · ·A· · ·Depending on what the issue is.· If -- what is their
23·   ·P12, P13 and P14.· They are policies 122, 123 and 220.           23·   ·out-of-school speech?· If it's related, directly related to
24·   · · · · · ·Do these policies also constrain the types of rules    24·   ·the school district, harms the school, harms any kind of
25·   ·that coaches are allowed to set?                                 25·   ·verbal written or something that is going to hurt the school

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·1·   · · ·A· · ·Constrain?                                             ·1·   ·district, then yes; if it's not, then no.
·2·   · · ·Q· · ·Yes.· So are these policies that coaches would need    ·2·   · · ·Q· · ·Okay.· So would coaches have the power to adopt a
·3·   ·to read before writing say their cheerleading rules so that      ·3·   ·rule that says that you can't swear outside of school because
·4·   ·they --                                                          ·4·   ·swearing reflects badly on the district?
·5·   · · ·A· · ·Not necessarily.· What I mean yes and no.· So if --    ·5·   · · ·A· · ·That's a tough one too.· I think that if they said
·6·   ·if the procedures -- if the policy is updated, then yes.· But    ·6·   ·-- they were swearing against the organization and that was in
·7·   ·this -- these policies are from 2007, 2012, 2012, and 2007.      ·7·   ·their rules, then that would be an issue.· But if they were
·8·   ·So the rules and procedures are probably already in effect for   ·8·   ·just swearing, I don't think that's an issue.· It's an
·9·   ·these things.· So, for example, cheerleading, like we saw, had   ·9·   ·individual case basis.
10·   ·rules from back in the stone age, and then they moved up.· So    10·   · · ·Q· · ·Okay.
11·   ·as the policies were changed, they basically went off of -- as   11·   · · ·A· · ·You know, just like the SG thing was different than
12·   ·the rules were changed, it was based on most likely the          12·   ·B's.· You know, one did something wrong on social media.· We
13·   ·policies.· So -- or their procedures might have changed          13·   ·addressed it.· That punishment was different.· B. did
14·   ·because of something that happened.· Like, for example, Nicole   14·   ·something wrong on social media, that punishment was
15·   ·had said that the one rule had changed because there was no --   15·   ·different.· So like it depends on the situation itself.
16·   ·there was no Snapchat back then.· You know, so they had to add   16·   · · ·Q· · ·Okay.
17·   ·some type of thing.· So things change as they move forward.      17·   · · ·A· · ·And based on what they have in their rules.
18·   · · ·Q· · ·Sure.                                                  18·   · · ·Q· · ·Okay.· But there is nothing about B's punishment
19·   · · ·A· · ·Basically are they supposed to follow the policy?      19·   ·that you think went too far and went beyond what coaches
20·   ·Yes.· But also they need to up -- like these policies I can      20·   ·should be allowed to do, is that right?
21·   ·tell you currently right now are being updated.· So we're in     21·   · · ·A· · ·Do you mean -- well, if -- no.· I think that is
22·   ·the process right now of updating every single one of our        22·   ·right.
23·   ·policies with PSBA.· So it's kind of a hard question to          23·   · · ·Q· · ·Okay.· We talked a lot about -- this morning about
24·   ·answer.                                                          24·   ·the nature of Snapchat and the fact that it is different from
25·   · · ·Q· · ·Let me ask it this way.· Are the cheerleading rules    25·   ·other social media platforms.· In many ways it shares many


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·1·   ·qualities with say like a large group text.· In your view,       ·1·   · · ·Q· · ·Understood.· I am trying to understand though if you
·2·   ·your coaches have the power to say you can't say disparaging     ·2·   ·think your coaches would be allowed to adopt a rule that says
·3·   ·things about the school or about our sport to a large group of   ·3·   ·if you say to one person outside of school something negative
·4·   ·people, even if it is not public on line?                        ·4·   ·about our sport and I hear about it, I am going to punish you.
·5·   · · · · · ·MR. BROWN: I object to the form.· But if you           ·5·   ·Would that be allowed?
·6·   ·understand the question, you can answer.                         ·6·   · · ·A· · ·I don't know how to answer that.
·7·   · · · · · ·THE WITNESS:· If it's public on line, and it is a      ·7·   · · ·Q· · ·Okay.· Okay.· Has the student handbook changed in
·8·   ·derogatory remark towards their team and that is a rule of       ·8·   ·the past few years in any way that is relevant to this case?
·9·   ·theirs, then yes, they have the option to discipline them.       ·9·   · · ·A· · ·I don't believe so.
10·   ·BY MS. TACK-HOOPER:                                              10·   · · ·Q· · ·Okay.· Okay.· One of your attorneys said at the
11·   · · ·Q· · ·Okay.· I am talking about a situation that's not       11·   ·preliminary injunction hearing that it's pretty much the same
12·   ·public on line.· It's a closed group of some sort, either a      12·   ·from year to year.· Is that an accurate statement in your
13·   ·closed social media group or like a large group chat.            13·   ·view?
14·   · · ·A· · ·If they find out about it, they have the right to      14·   · · ·A· · ·Yes.· If a policy updates or procedures update, then
15·   ·discipline the child.· If they find out that it is in fact a     15·   ·they're put in there.· But the majority of it is the same.
16·   ·post, because obviously it wasn't private because everybody      16·   · · ·Q· · ·Okay.· What is the most specific written statement
17·   ·else found out about it.                                         17·   ·that the district has that says that cheerleaders can be
18·   · · ·Q· · ·Okay.· So in your view, coaches have the power to      18·   ·punished for saying fuck cheer off campus?
19·   ·punish speech that comes into the school in some way even if     19·   · · ·A· · ·What is the most specific statement?
20·   ·it wasn't like open to everyone in the public, is that your      20·   · · ·Q· · ·Yes.· So we have looked at a lot of policies, parts
21·   ·view?                                                            21·   ·of the handbook that talked generally about personal conduct
22·   · · ·A· · ·No.· I am saying if -- if the speech effects the --    22·   ·outside of school, I am just wondering --
23·   ·that specific team or group, then yes.· An if it's their rule,   23·   · · ·A· · ·There is no one specific answer to that.· There is
24·   ·then yes.                                                        24·   ·the -- there is a lot of things that would say a cheerleading
25·   · · ·Q· · ·Right.                                                 25·   ·coach could punish for speech that's outside based on the

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·1·   · · ·A· · ·They have the right to punish those children.          ·1·   ·rules in the handbook, based on the rules that they establish,
·2·   · · ·Q· · ·Okay.· So someone could say something outside of       ·2·   ·based on the procedures that they establish from the policies,
·3·   ·school to one other person that could effect a team.· You        ·3·   ·all of that gives them that authority to do that.
·4·   ·agree with that, right?                                          ·4·   · · ·Q· · ·Okay.· Do other sports teams have rules like the
·5·   · · ·A· · ·Uh-huh.                                                ·5·   ·cheerleading rules that restrict athletes' speech when they're
·6·   · · ·Q· · ·And that one other person they sent it to could tell   ·6·   ·not at school or doing school activities?
·7·   ·fifty other people, right?                                       ·7·   · · ·A· · ·I wouldn't know that, because they don't get their
·8·   · · ·A· · ·Uh-huh.                                                ·8·   ·rules approved by me.· I do know that some of the sports
·9·   · · ·Q· · ·I am trying to figure out if that is something that    ·9·   ·though have those types of things.· But as far as all of them,
10·   ·you think that the school could punish, or if there is some      10·   ·I don't know.
11·   ·kind of line drawn that the district does --                     11·   · · ·Q· · ·Okay.· Let's look at P-2, the 30 (b)(6) deposition
12·   · · ·A· · ·I look at it, my own personal view is if you are       12·   ·notice with the topics.· So the second topic, it's on page A7,
13·   ·talking -- if I am talking to you by myself and I am saying to   13·   ·is one that you were designated on.
14·   ·you cheerleading sucks, it's different than posting it on a      14·   · · ·A· · ·Okay.
15·   ·public forum for everyone to see to get all of the               15·   · · ·Q· · ·Subsection A says whether students participating in
16·   ·cheerleaders worked up and upset.· It happened both times.· So   16·   ·other high school athletics through the district are subject
17·   ·like you need to discipline that person because it effected      17·   ·to restrictions on their out-of-school speech similar to the
18·   ·the team itself.· If it didn't effect the team, or if it was     18·   ·restrictions on speech imposed on cheerleaders, and if not,
19·   ·just a conversation between you and I and no one else knew       19·   ·why not.· Is that a topic you are able to speak about?
20·   ·about it and I was mad at you one day and went up to the coach   20·   · · ·A· · ·I can tell you that they -- whether students
21·   ·and said, hey, did you know that so and so said this to me,      21·   ·participate -- I can tell you that if the coach has that rule,
22·   ·there is really nothing that you can do about that.· To me       22·   ·they will put -- implement that rule.
23·   ·there is a difference between freedom and speech and throwing    23·   · · · · · ·There has not been an issue like this until now.· So
24·   ·a public -- out into a public forum of bashing of your group     24·   ·I don't know of any that have an issue with disciplining the
25·   ·when you know that that is a rule that you're not able to do.    25·   ·students for speech.


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·1·   · · ·Q· · ·Is there anyone in the district who would be more      ·1·   ·season, he was not on the team any more?
·2·   ·familiar with these rules?· Like I think that you mentioned      ·2·   · · · · · ·THE WITNESS:· No.· He was not on the team.· He was
·3·   ·that coaches sometimes will show their rules to the athletic     ·3·   ·on the team for a few weeks and quit.
·4·   ·director or the principal.                                       ·4·   · · · · · ·MS. TACK-HOOPER:· Got it.
·5·   · · ·A· · ·I can -- maybe the principal that was here prior to    ·5·   · · · · · ·THE WITNESS:· Then never went back on the team
·6·   ·this, Mr. Smith, but I don't think he's going to be able to      ·6·   ·again.
·7·   ·help you.· Because the only time they would go to them for the   ·7·   · · · · · ·MR. BROWN: The video occurred after.
·8·   ·rules would be if there was a situation where they needed to     ·8·   · · · · · ·THE WITNESS:· Right.· The video occurred --
·9·   ·throw somebody off a team.                                       ·9·   ·BY MS. TACK-HOOPER:
10·   · · ·Q· · ·Okay.· All right.· And the topic B under two on that   10·   · · ·Q· · ·Are you aware of any -- so I know that you said that
11·   ·same document --                                                 11·   ·you're not familiar with every teams rules.· Do you have any
12·   · · ·A· · ·Yes.                                                   12·   ·reason to believe that any other team has rules that would
13·   · · ·Q· · ·Whether HB, a football player, featured in the Utube   13·   ·allow the team to kick a student off for their out-of-school
14·   ·video at issue is Loy versus Mahanoy Area School District was    14·   ·speech?
15·   ·subjected to discipline as a result of his out-of-school         15·   · · ·A· · ·Do I have any knowledge of that, no.
16·   ·speech, and if not, why not.· Is that something that you're      16·   · · ·Q· · ·Yes.· Okay.
17·   ·able to talk about?                                              17·   · · · · · ·Okay.· Would there be any reason for cheerleaders to
18·   · · ·A· · ·Yes.                                                   18·   ·be subject to more restrictions on their out-of-school speech
19·   · · ·Q· · ·Okay.                                                  19·   ·than students in other sports?
20·   · · ·A· · ·So HB was not a football player when the Utube video   20·   · · ·A· · ·No.
21·   ·for Loy and the Mahanoy Area School District was going on.· He   21·   · · ·Q· · ·Okay.· Okay.· You were also designated to speak for
22·   ·wasn't on the team.· So he wasn't subjected to discipline.       22·   ·the district on topic four, which is about past incidents of
23·   · · ·Q· · ·Is that because it wasn't football season, or he       23·   ·disruption caused by out-of-school speech.· Is that a topic
24·   ·hadn't made the team?                                            24·   ·that you are able to speak about?
25·   · · ·A· · ·It says was he featured in Utube video and was         25·   · · ·A· · ·Yes.

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·1·   ·subjected to discipline, he wasn't.                              ·1·   · · ·Q· · ·Okay.· Were there any past incidents of disruption
·2·   · · ·Q· · ·No.· I am sorry.· You said he wasn't a football        ·2·   ·that would lead someone to believe that B's Snap might disrupt
·3·   ·player.· I am asking you if that's because -- so the video, as   ·3·   ·classroom instruction or other school activities?
·4·   ·I understand it from the other lawsuit, was dated February 7,    ·4·   · · ·A· · ·You lost me.· Can you say that again?
·5·   ·2017.· Is that part of the football season?                      ·5·   · · ·Q· · ·Sure.· Sure.
·6·   · · · · · ·MR. BROWN: Wait.· If you can, I think what you are     ·6·   · · ·A· · ·I am trying to follow what you are saying.
·7·   ·asking, I am just trying to mediate here.                        ·7·   · · ·Q· · ·What other incidents are you aware of involving
·8·   · · · · · ·MS. TACK-HOOPER:· Please, yes.                         ·8·   ·disruption caused by a student's out-of-school speech?
·9·   · · · · · ·MR. BROWN: You are asking whether it was -- he was a   ·9·   · · ·A· · ·None.
10·   ·football player, but it was out of season, or was he already     10·   · · ·Q· · ·None in the district?
11·   ·off of the football team, is that --                             11·   · · ·A· · ·No.
12·   · · · · · ·MS. TACK-HOOPER:· Yes, that's right.                   12·   · · · · · ·MS. TACK-HOOPER:· Okay.· That is all I have.
13·   · · · · · ·THE WITNESS:· No.· He played football his freshman     13·   · · · · · ·Do you have anything?
14·   ·year for approximately a couple -- maybe a couple weeks and      14·   ·BY MR. BROWN:
15·   ·quit.                                                            15·   · · ·Q· · ·I just have one question.
16·   ·BY MS. TACK-HOOPER:                                              16·   · · · · · ·We have been discussing the authority to remove B.
17·   · · ·Q· · ·I see.· Okay.                                          17·   ·from the cheerleading team.· Do you believe there is a
18·   · · ·A· · ·He never went back out again.· And he's a senior       18·   ·difference in removing a student from an extracurricular
19·   ·this year.· So he wasn't even on the football team at all        19·   ·activity, whether it's the sport of cheerleading versus
20·   ·during this lawsuit.                                             20·   ·removing a student from their classes by suspension or
21·   · · ·Q· · ·Okay.· Okay.                                           21·   ·expulsion?
22·   · · ·A· · ·So it's like it's --                                   22·   · · ·A· · ·Yes.· Absolutely.· We don't -- that's a part of the
23·   · · · · · ·MR. BROWN: I think we're saying --                     23·   ·reason why the -- we separate the extracurricular from the
24·   · · · · · ·MS. TACK-HOOPER: Sure.                                 24·   ·academic.· So we didn't punish B., say you are suspended from
25·   · · · · · ·MR. BROWN: -- it wasn't because it was out of          25·   ·school for, you know, ten days for posting this on Facebook.


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